                      Exhibit 14




Case 3:23-cv-00818-JAG-DCK   Document 296-1   Filed 04/05/24   Page 1 of 5
From:              Daniel S. Levy
To:                Mueller, Nicole C.; Wylie, Joseph
Cc:                Richard S. Cornfeld; robert@aswtlawyers.com; anthony@aswtlawyers.com; Richard S. Cornfeld
Subject:           RE: Moore v. Compass
Date:              Thursday, January 5, 2023 12:07:02 PM




External Sender:

Nicole,

We are still working on trying to find dates as to Ms. Carter and Ms. Jaye. We are expecting to
dismiss Mr. Madelmayer as a named plaintiff, and possibly Ms. Carter. We will follow up as
to all three by next week. As to Mr. Moore, although we maintain our position of proceeding
with a Saturday deposition, are you able to provide an estimate as to how long you think the
deposition will take? If you can we will discuss with our client. Thank you.

Also, as I’m sure you noticed, I’m responding from my new email address, and please note
that Rick’s new email is cc’d as well.

Daniel

From: Daniel S. Levy <dlevy@cornfeldlegal.com>
Sent: Thursday, January 5, 2023 11:55 AM
To: Daniel S. Levy <daniel@ghalaw.com>
Subject: FW: Moore v. Compass




From: Mueller, Nicole C. <Nicole.Mueller@klgates.com>
Sent: Tuesday, January 3, 2023 11:25 AM
To: Daniel S. Levy <dlevy@cornfeldlegal.com>; Richard S. Cornfeld <rcornfeld@cornfeldlegal.com>;
Robert M. Partain <robert@aswtlawyers.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; Anthony Jenkins <anthony@aswtlawyers.com>
Subject: RE: Moore v. Compass

Daniel,

Happy new year. Thank you for providing Mr. Jilek and Mr. Moore’s availability. We will circle back
with a proposed date for Mr. Jilek shortly. With regard to Mr. Moore, we are not available to take
the deposition on a Saturday. Please provide alternative dates.

Can you also advise as to when we can expect to receive dates for Ms. Carter, Ms. Jaye, and Mr.
Madelmayer? A previous email from Rick indicated that we were to receive dates for all of the
named plaintiffs in December.

Best regards,
Nicole


 Case 3:23-cv-00818-JAG-DCK                       Document 296-1                Filed 04/05/24            Page 2 of 5
From: Daniel S. Levy <dlevy@cornfeldlegal.com>
Sent: Wednesday, December 21, 2022 5:06 PM
To: Mueller, Nicole C. <Nicole.Mueller@klgates.com>; Richard S. Cornfeld
<rcornfeld@cornfeldlegal.com>; Robert M. Partain <robert@aswtlawyers.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; Anthony Jenkins <anthony@aswtlawyers.com>
Subject: RE: Moore v. Compass




Nicole,

Mr. Jilek is generally available on a Tuesday, Wednesday, or Friday from mid-late January into
February. Due to his work schedule Mr. Moore can be available on a Saturday in January or
February. If you have specific dates that are best on your end we can confirm/work to finalize the
dates. We will let you know about the other Plaintiffs as soon as we can. Thank you.

Daniel


From: Mueller, Nicole C. <Nicole.Mueller@klgates.com>
Sent: Wednesday, December 21, 2022 3:00 PM
To: Richard S. Cornfeld <rcornfeld@cornfeldlegal.com>; Robert M. Partain
<robert@aswtlawyers.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; Daniel S. Levy <dlevy@cornfeldlegal.com>; Anthony
Jenkins <anthony@aswtlawyers.com>
Subject: RE: Moore v. Compass

Rick,

Following up on the below regarding deposition dates for plaintiffs.

Best,
Nicole


From: Richard S. Cornfeld <rcornfeld@cornfeldlegal.com>
Sent: Tuesday, November 22, 2022 3:56 PM
To: Mueller, Nicole C. <Nicole.Mueller@klgates.com>; Robert M. Partain
<robert@aswtlawyers.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; Daniel S. Levy <dlevy@cornfeldlegal.com>; Anthony
Jenkins <anthony@aswtlawyers.com>
Subject: RE: Moore v. Compass




 Case 3:23-cv-00818-JAG-DCK               Document 296-1         Filed 04/05/24       Page 3 of 5
Robert is about to go to trial and unavailable now. We’ll get you available dates when he’s back
sometime in December. Rick



From: Mueller, Nicole C. <Nicole.Mueller@klgates.com>
Sent: Friday, November 18, 2022 12:18 PM
To: Robert M. Partain <robert@aswtlawyers.com>; Richard S. Cornfeld
<rcornfeld@cornfeldlegal.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; Daniel S. Levy <dlevy@cornfeldlegal.com>; Anthony
Jenkins <anthony@aswtlawyers.com>
Subject: RE: Moore v. Compass

Counsel,

I’m following up on the below request, which is a revisit to the request I first made on May 31, 2022.

Best regards,
Nicole


From: Mueller, Nicole C.
Sent: Tuesday, November 1, 2022 3:58 PM
To: Robert M. Partain <robert@aswtlawyers.com>; Richard S. Cornfeld
<rcornfeld@cornfeldlegal.com>
Cc: Wylie, Joseph <Joseph.Wylie@klgates.com>; Daniel S. Levy <dlevy@cornfeldlegal.com>; Anthony
Jenkins <anthony@aswtlawyers.com>
Subject: Moore v. Compass

Dear Robert and Rick,

I’d like to circle back on our prior request to obtain dates for deposition for the plaintiffs--can you
propose dates that are convenient for your clients?

Best regards,
Nicole




Nicole C. Mueller (she/her/hers)
Partner
K&L Gates LLP
70 West Madison
Suite 3100
Chicago, Illinois 60602
Phone: (312) 807-4341
Fax: (312) 345-9976


 Case 3:23-cv-00818-JAG-DCK                 Document 296-1          Filed 04/05/24        Page 4 of 5
nicole.mueller@klgates.com
www.klgates.com




This electronic message contains information from the law firm of K&L Gates LLP. The contents may be privileged and
confidential and are intended for the use of the intended addressee(s) only. If you are not an intended addressee, note that
any disclosure, copying, distribution, or use of the contents of this message is prohibited. If you have received this e-mail in
error, please contact me at Nicole.Mueller@klgates.com.-4


This electronic message contains information from the law firm of K&L Gates LLP. The contents may be privileged and
confidential and are intended for the use of the intended addressee(s) only. If you are not an intended addressee, note that
any disclosure, copying, distribution, or use of the contents of this message is prohibited. If you have received this e-mail in
error, please contact me at Nicole.Mueller@klgates.com.-4


This electronic message contains information from the law firm of K&L Gates LLP. The contents may be privileged and
confidential and are intended for the use of the intended addressee(s) only. If you are not an intended addressee, note that
any disclosure, copying, distribution, or use of the contents of this message is prohibited. If you have received this e-mail in
error, please contact me at Nicole.Mueller@klgates.com.-4




  Case 3:23-cv-00818-JAG-DCK                         Document 296-1                Filed 04/05/24             Page 5 of 5
